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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

OMAR SULAIMAN                                         )
                                                      )
                                 Plaintiff,           )
                                                      )
                v.                                    )      Case No. 1:15-cv-04518
                                                      )
BIEHL & BIEHL, INC.,                                  )      Judge John J. Tharp Jr.
                                                      )
                                 Defendant.           )      Magistrate Judge Mary M. Rowland


                               DEFENDANT'S MOTION FOR COSTS

        NOW COMES Defendant, BIEHL & BIEHL, INC. ("Biehl"), by and through its attorneys,

David M. Schultz and Palak N. Shah of Hinshaw & Culbertson LLP, and for its Motion for Costs

pursuant to Fed. R. Civ. P. 54, states as follows:

          1.    On May 21, 2015, Plaintiff filed a Complaint against Biehl for alleged violations of

the Fair Debt Collection Practices Act, 15 U.S.C. §1692e, et seq. (“FDCPA”) and the Illinois

Consumer Fraud and Deceptive Business Practices Act, 815 ILCS 505 ("ICFA"). (Dkt. #1).

          2.    On July 24, 2015, Plaintiff filed an Amended Complaint for alleged violations of the

Fair Debt Collection Practices Act, 15 U.S.C. §1692e, et seq. (“FDCPA”) and the Illinois Consumer

Fraud and Deceptive Business Practices Act, 815 ILCS 505 ("ICFA"). (Dkt. #15).

          3.    The parties filed cross motions for summary judgment on and on September 30,

2016, the Court denied Plaintiff's motion and granted Biehl's motion for summary judgment on all

of Plaintiff's claims. (Dkt. #40, 41).

          4.    Judgment in favor of Biehl and against Plaintiff was entered on September 30, 2016.

(Dkt. #42).




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          5.    Thus, Biehl is the prevailing party and requests costs pursuant to Fed. R. Civ. P. 54,

which provides that “costs – other than attorney’s fees – should be allowed to the prevailing party.”

Fed. R. Civ. P. 54(d)(1).

          6.    Biehl incurred a total of $587.25 in costs. These costs were necessary for Biehl to

adequately defend this case through a motion for summary judgment. See Exhibit A, Biehl's Bill of

Costs.

         Wherefore, Defendant, BIEHL & BIEHL, INC., respectfully requests that this Court enter

an order requiring Plaintiff to pay Defendant $587.25 in costs pursuant to Rule 54.



David M. Schultz                                             Respectfully Submitted,
Palak N. Shah
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on October 14, 2016 I electronically filed the foregoing Motion for
Costs by using the CM/ECF system, which will send notification of such filing(s) to all counsel of
record.



                                                       s/Palak N. Shah
                                                       Palak N. Shah
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